           Case 1:21-cv-00840-RP Document 50 Filed 11/30/21 Page 1 of 6




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION
 NETCHOICE, LLC, et al.,
      Plaintiffs,

 v.                                                      Civil Action No. 1:21-cv-00840-RP
 KEN PAXTON, in his official capacity as
 Attorney General of Texas,
       Defendant.

 DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION TO STRIKE EXPERT REPORT (DKT. 43)

       Defendant responds to Plaintiffs’ Motion to Strike the expert report of Adam Candeub,

provided in support of Defendant’s opposition to preliminary injunction. Dkts. 39-1, 43. That this

Court should strike an entire expert report in consideration of a motion where the Court is the

ultimate trier of fact has no basis in law or equitable fairness to Defendant and his ability to provide

a full defense to Plaintiffs’ suit. For the reasons further discussed below, this Court should deny

Plaintiffs’ Motion.

                                            ARGUMENT

       “District courts are assigned a gatekeeping role to determine the admissibility of expert

testimony.” United States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010). And “where a district

judge sits as the trier of fact in place of a jury,” such as in this case, “[m]ost of the safeguards

provided for in Daubert are not as essential.” Gibbs v. Gibbs, 210 F.3d 491, 500 (5th Cir. 2000).

       There is no reason why this Court, the ultimate fact-finder in this case, cannot consider the

expert report of Adam Candeub and provide it the consideration and weight that it deems




                                               Page 1 of 6
           Case 1:21-cv-00840-RP Document 50 Filed 11/30/21 Page 2 of 6




appropriate. 1 Nonetheless, Plaintiffs are asking to strike Candeub’s entire report from the record

by making unsupported claims of legal conclusions and unreliability. Dkt. 43.

       Notably, having not made any argument to the contrary, Plaintiffs appear to concede that

Professor Candeub is qualified to offer the opinions in his Report. This concession is

understandable given Candeub’s numerous scholarly publications on the issue of common carriage

and internet law, as well as his prior work as attorney advisor for the Federal Communications

Commission’s Common Carriage Bureau and as Acting Assistant Secretary of Commerce for the

National Telecommunications and Information Authority. Dkt. 39-1.

       Plaintiffs, instead, attack Candeub’s report on the allegation that it offers impermissible

legal conclusions. Despite their claim, however, Plaintiffs do not specifically identify what those

legal conclusions are. It cannot be the issue of whether the Platforms are common carriers. Opining

that they are common carriers, as Candeub does, is not a legal conclusion—it is an opinion on a

disputed factual matter before the Court. Numerous courts have recognized that, whether an

industry is, or has been properly deemed, a common carrier is a fact issue. See United States v. King,

524 F. Supp. 3d 668, 679 (S.D. Tex. 2020) (whether airline company was common carrier was

issue of fact); see also Woolsey v. Nat’l Transp. Safety Bd., 993 F.2d 516, 524 (5th Cir. 1993) (whether

small air carrier was a common carrier required fact inquiry). While Candeub’s opinions may

necessarily require the relevant facts to be discussed in the context of the jurisprudence they arise

from, this does not transform those opinions from fact issues into legal conclusions.



1 Indeed, this is the precise reason why Defendant did not move to exclude any of Plaintiffs’
attached declarations to their PI motion. Although the declarants stated numerous times in their
depositions that they lacked personal knowledge as to the matters they had attested to, Defendant
has simply provided those depositions to the Court for its consideration, rather than insist this
Court cannot utilize its judicial discretion to give the proper weight to the declarations.


                                               Page 2 of 6
           Case 1:21-cv-00840-RP Document 50 Filed 11/30/21 Page 3 of 6




        Plaintiffs misleadingly claim Candeub’s Report argues the Platforms are common carriers

as a matter of law. Dkt. 43 at 3. They even go so far as to insist Candeub has “[i]dentif[ied] the

controlling legal standard” for common carriage. Id. at 4. But neither of those characterizations are

supported by Candeub’s Report. Candeub is clear that it is Plaintiffs’ assertion that the Platforms

are not common carriers “as a matter of law.” Dkt. 39-1 at 8; see also Dkt. 12 (PI Motion) at 41 (“the

covered platforms are not common carriers as a matter of law”). Candeub, in fact, opines this

cannot be so, and a “controlling legal standard” cannot exist because “common carriage tests often

present complicated, fact-intensive questions.” Dkt. 39-1 at 8. These fact-intensive questions are

exactly what Candeub details for this Court immediately above this explicit disavowal of common

carrier status being a matter of law. Id. at 2-7.

        Moreover, Candeub’s testimony is reliable. Rule 702 authorizes a qualified expert “to

testify to an opinion or inference based on his knowledge, skill, experience, training, or education

if it is soundly grounded in the principles and methodology of his discipline.” Moore v. Ashland

Chemical, Inc., 126 F.3d 679, 703 (5th Cir. 1997). “The reliability inquiry is flexible, and the judge

has discretion in determining which factors are most germane in light of the nature of the issue, the

particular expertise, and the subject of the expert’s testimony.” Balfour Beatty Rail, Inc. v. Kansas

City S. Ry. Co., 173 F. Supp. 3d 363, 408 (N.D. Tex. 2016).

        Candeub provides citations to all the bases for his opinions as to what facts generally

indicate common carriage status. Dkt. 39-1. He explains the historical methodology for

determining common carriage that is readily verifiable. Id. These very same factual inquiries to

which Candeub testifies were, in fact, extensively relied on by Justice Thomas just last year when

conducting his own factual analysis of social media platforms as common carriers. Biden v. Knight




                                                Page 3 of 6
          Case 1:21-cv-00840-RP Document 50 Filed 11/30/21 Page 4 of 6




First Amendment Inst. at Columbia Univ., 141 S. Ct. 1220, 1222-23 (2021) (Thomas, J., concurring)

(citing and discussing Candeub, Bargaining for Free Speech: Common Carriage, Network Neutrality,

and Section 230, 22 Yale J. L. & Tech. 391, 398-407 (2020)). Where a Supreme Court Justice has

already considered an expert’s factual analysis, a subsequent litigant is hard-pressed to show a basis

for excluding that same expert’s analysis as somehow unreliable or otherwise improper expert

testimony. Indeed, Plaintiffs have not even attempted to show such here—they completely fail to

explain why this Court should exclude testimony from an expert that a Supreme Court Justice has

already considered on similar issues.

       Whether the Platforms are common carriers is a fact issue for this Court to decide. And it

is an issue that is critical to this case. While Plaintiffs may insist common carriage is a

“meaningless” doctrine that does not impact First Amendment analysis, Candeub’s Report,

Justice Thomas’ concurrence in Biden, and decades’ worth of jurisprudence show otherwise. That

Plaintiffs continue to cite case law that stands for the proposition that common carriers still retain

some First Amendment rights, for example, from being compelled to speak, has no bearing on the

reliability or admissibility of Candeub’s Report. Dkt. 43 at 7-8. After all, Section 7 of H.B. 20 does

not compel speech; it dictates that, once a platform has chosen what “speech” to engage in

through its self-created content moderation policies, it cannot engage in discriminatory practices

based on the user viewpoints expressed therein. None of the case law Plaintiffs so heavily rely on

preclude this conclusion, nor do they preclude use of Candeub’s report to deem the Platforms

common carriers.




                                              Page 4 of 6
          Case 1:21-cv-00840-RP Document 50 Filed 11/30/21 Page 5 of 6




                                         Conclusion

       Under Federal Rule of Civil Procedure 704, Defendant is permitted to offer expert

testimony on the common carrier question. Moreover, Plaintiffs’ Motion provides no reason why

Candeub’s entire 22-page report must be stricken from the record rather than trusting this Court

to exercise its judicial discretion and give Candeub’s report the weight it is due. Defendant

respectfully requests this Court deny Plaintiffs’ Motion.

                                             Respectfully Submitted.

                                             KEN PAXTON
                                             Attorney General of Texas

                                             BRENT WEBSTER
                                             First Assistant Attorney General

                                             GRANT DORFMAN
                                             Deputy First Assistant Attorney General

                                             SHAWN COWLES
                                             Deputy Attorney General for Civil Litigation

                                             THOMAS A. ALBRIGHT
                                             Division Chief
                                             General Litigation Division

                                             /s/ Courtney Corbello
                                             COURTNEY CORBELLO
                                             Attorney-in-Charge
                                             Assistant Attorney General
                                             Texas State Bar No. 24097533
                                             courtney.corbello@oag.texas.gov

                                             CHRISTOPHER D. HILTON
                                             Counsel of Record
                                             Assistant Attorney General
                                             Texas State Bar No. 24087727
                                             christopher.hilton@oag.texas.gov

                                             BENJAMIN STOREY LYLES


                                            Page 5 of 6
           Case 1:21-cv-00840-RP Document 50 Filed 11/30/21 Page 6 of 6




                                               Counsel of Record
                                               Assistant Attorney General
                                               Texas State Bar No. 24094808
                                               benjamin.lyles@oag.texas.gov

                                               BENJAMIN S. WALTON
                                               Counsel of Record
                                               Assistant Attorney General
                                               Texas State Bar No. 24075241
                                               benjamin.walton@oag.texas.gov

                                               General Litigation Division
                                               Office of the Attorney General
                                               P.O. Box 12548
                                               Austin, Texas 78711-2548
                                               (512) 463-2120 / Fax (512) 936-2109
                                               ATTORNEYS FOR DEFENDANT

                               CERTIFICATE OF SERVICE
    I certify that on November 30, 2021 the foregoing was filed electronically via the Court’s
CM/ECF system, causing electronic service upon all counsel of record.
                                              /s/ Courtney Corbello
                                              COURTNEY CORBELLO
                                              Assistant Attorney General

                                  NOTICE OF ELECTRONIC FILING
       I, certify that I have electronically submitted for filing, a true and correct copy of the above
and foregoing in accordance with the Electronic Case Files system of the United States District
Court for the Western District of Texas, on November 30, 2021.
                                                   /s/ Courtney Corbello
                                                   COURTNEY CORBELLO
                                                   Assistant Attorney General




                                              Page 6 of 6
